 Case 1:06-cr-00086-GJQ           ECF No. 41, PageID.90              Filed 09/06/06   Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:06-cr-00086
                                    )
v.                                  )                  Honorable Gordon J. Quist
                                    )
CHRISTOPHER RAYMOND WILLIAMS, )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 5, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Christopher Raymond Williams entered a plea of guilty to Count 1 of the

Indictment, charging defendant with conspiring with Billy Joe Wheatley and others to manufacture

methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(C), in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
 Case 1:06-cr-00086-GJQ            ECF No. 41, PageID.91           Filed 09/06/06      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count 1 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge. The clerk is directed to procure a transcript of the plea hearing for review by the District

Judge.



Date: September 6, 2006                                 /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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